USDC IN/ND case 1:25-cv-00239-HAB-SLC   document 8-10   filed 05/21/25   page 1 of 5




               EXHIBIT 8
5/20/25, 8:33 PM         Office of Public Affairs | U.S. Government Seizes 68 Protected Big Cats and a Jaguar from Jeffrey and Lauren Lowe | United States…
         USDC IN/ND case 1:25-cv-00239-HAB-SLC                                 document 8-10             filed 05/21/25          page 2 of 5




    PRESS RELEASE



    U.S. Government Seizes 68 Protected
    Big Cats and a Jaguar from Jeffrey and
    Lauren Lowe

    Thursday, May 20, 2021                                                           For Immediate Release

                                                                                     Office of Public Affairs




    The United States has seized 68 protected lions, tigers, lion-tiger hybrids, and a jaguar from
    Jeffrey and Lauren Lowe’s Tiger King Park in Thackerville, Oklahoma, pursuant to a judicially-
    authorized search and seizure warrant, for ongoing Endangered Species Act (ESA) violations.
    The Justice Department will seek civil forfeiture of these animals and any offspring pursuant to
    the ESA’s forfeiture provision.

    Pursuant to a court-approved stipulation in United States v. Lowe, et al., No. 20-423 (E.D. Okla.),
    the U.S. Department of Agriculture’s (USDA) Animal and Plant Health Inspection Service has
    conducted three inspections of Tiger King Park since mid-December 2020. During these
    inspections, the Lowes received citations for failing to provide the animals with adequate or
    timely veterinary care, appropriate nutrition, and shelter that protects them from inclement
    weather and is of sufficient size to allow them to engage in normal behavior. The Lowes were
    recently found in contempt after months of noncompliance with court orders requiring the
    Lowes, in part, to employ a qualified veterinarian and establish and maintain a program of
    veterinary care that meets the requirements of the Animal Welfare Act. The United States
    alleges that these violations as to ESA-protected animals also constitute violations of the ESA.

    “This seizure should send a clear message that the Justice Department takes alleged harm to
    captive-bred animals protected under the Endangered Species Act very seriously,” said Acting
https://www.justice.gov/archives/opa/pr/us-government-seizes-68-protected-big-cats-and-jaguar-jeffrey-and-lauren-lowe                                   1/4
5/20/25, 8:33 PM         Office of Public Affairs | U.S. Government Seizes 68 Protected Big Cats and a Jaguar from Jeffrey and Lauren Lowe | United States…
      USDC IN/ND
    Assistant       case
              Attorney   1:25-cv-00239-HAB-SLC
                       General                        document
                                Jean E. Williams of the          8-10 filed 05/21/25
                                                        Justice Department’s          page
                                                                             Environment   3 of 5
                                                                                         and
    Natural Resources Division.

    “This important animal rescue operation of nearly 70 endangered and allegedly abused lions,
    tigers, and a jaguar shows how effective civil forfeiture can be when utilized in conjunction with
    statutes like the Endangered Species Act,” said Acting Assistant Attorney General Nicholas L.
    McQuaid of the Justice Department’s Criminal Division. “We are proud to have partnered with
    the Environment and Natural Resources Division to protect these amazing animals, and will
    work to ensure that they go to responsible animal preserves where they can be safely
    maintained rather than exploited.”

    “The U.S. Fish and Wildlife Service enforces the Endangered Species Act,” said Assistant
    Director Edward Grace of the U.S. Fish and Wildlife Service’s (FWS) Office of Law Enforcement.
    “The law protects imperiled species, such as tigers, both in the wild and in captivity. We work
    jointly with our federal law enforcement partners to conserve and protect natural resources and
    we are pleased that we could provide our expertise to assist the U.S. Marshals and USDA
    officers. Together, we will ensure these animals receive proper care and rehabilitation.”

    The case is being investigated by USDA and the Department of the Interior’s FWS. The U.S.
    Marshals were integral in executing the seizure warrant and securing the property, which
    allowed for the swift removal of the animals.

    The case is being handled by Senior Trial Attorney Mary Hollingsworth, Trial Attorneys Briena
    Strippoli, and Devon Flanagan from the Environment and Natural Resources Division and Senior
    Policy Advisor Darrin McCullough of the Criminal Division’s Money Laundering and Asset
    Recovery Section. They are assisted by attorneys from the Civil Division of the U.S. Attorney’s
    Office for the Eastern District of Oklahoma.


    Updated February 6, 2025




    Attachment
    Affidavit [PDF, 4 MB]


    Topic

         ANIMAL WELFARE




    Components

https://www.justice.gov/archives/opa/pr/us-government-seizes-68-protected-big-cats-and-jaguar-jeffrey-and-lauren-lowe                                   2/4
5/20/25, 8:33 PM         Office of Public Affairs | U.S. Government Seizes 68 Protected Big Cats and a Jaguar from Jeffrey and Lauren Lowe | United States…
       USDCDivision
    Criminal IN/ND case 1:25-cv-00239-HAB-SLC     document
                        Criminal - Money Laundering        8-10
                                                    and Asset     filed 05/21/25
                                                              Recovery  Section                                                  page 4 of 5

    Environment and Natural Resources Division                                  ENRD - Wildlife and Marine Resources
    Section


    Press Release Number: 21-465




    Related Content


          PRESS RELEASE

          Grand Jury Indicts 11 More Individuals for Involvement with Online
          Groups Dedicated to Monkey Torture and Mutilation

          An indictment was unsealed charging 11 defendants from across the United States for their
          alleged involvement with online groups dedicated to creating and distributing videos depicting
          acts of extreme violence...



          May 16, 2025




          PRESS RELEASE

          Rhode Island Man Pleads Guilty to Cockfighting Charges

          Onill Vazquez Lozada of Providence, Rhode Island, pleaded guilty today to two counts of
          possessing, sponsoring, and exhibiting birds in an animal fighting venture in violation of the
          Animal Welfare...



          April 29, 2025




          PRESS RELEASE


https://www.justice.gov/archives/opa/pr/us-government-seizes-68-protected-big-cats-and-jaguar-jeffrey-and-lauren-lowe                                   3/4
5/20/25, 8:33 PM         Office of Public Affairs | U.S. Government Seizes 68 Protected Big Cats and a Jaguar from Jeffrey and Lauren Lowe | United States…
         USDC IN/ND case 1:25-cv-00239-HAB-SLC
         Massachusetts   Man Sentenced for Dog document 8-10
                                                 Fighting                                                filed 05/21/25          page 5 of 5

          A Massachusetts man was sentenced to one year and one day in prison, with the final three
          months to be served in community confinement, after pleading guilty to nine counts...



          April 9, 2025




                                                 Office of Public Affairs
                                                 U.S. Department of Justice
                                                 950 Pennsylvania Avenue, NW
                                                 Washington DC 20530


                                                 Office of Public Affairs Direct Line
                                                 202-514-2007

                                                 Department of Justice Main Switchboard
                                                 202-514-2000




https://www.justice.gov/archives/opa/pr/us-government-seizes-68-protected-big-cats-and-jaguar-jeffrey-and-lauren-lowe                                   4/4
